   Case: 1:17-md-02804-DAP Doc #: 5169 Filed: 09/01/23 1 of 3. PageID #: 621923




                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                              MDL No. 2804


THIS DOCUMENT RELATES TO:                      Master File No.
                                               17-md-2804
  All Cases Listed on Attached Chart at
  Exhibit D                                    Honorable Dan A. Polster



                 MASTER MOTION FOR EXTENSION OF TIME
        FOR THIRD PARTY PAYORS TO PRODUCE PLAINTIFF FACT SHEETS
                AND CORRESPONDING DOCUMENTS AND DATA



        Based on recent guidance from Special Master David R. Cohen, the Plaintiffs’ Executive

 Committee (“PEC”), through James R. Dugan, II, the Third Party Payor (“TPP”) Chair on the

 PEC, hereby moves the Court for an extension of time for certain TPPs to comply with the

 Court’s Order Amending TPP Bellwether Process, dated June 30, 2023 (ECF No. 5097). That

 Order requiries all TPPs that did not dismiss their actions by July 7, 2023 to complete the agreed-

 upon Plaintiff Fact Sheet by September 5, 2023. The bases for the extensions and the relief

 sought are set forth in the accompanying Memorandum and exhibits thereto.
  Case: 1:17-md-02804-DAP Doc #: 5169 Filed: 09/01/23 2 of 3. PageID #: 621924




       The undersigned respectfully requests that the Court grant the Master Motion.



Dated: September 1, 2023                      Respectfully submitted,

                                              /s/ James R. Dugan, II
                                              James R. Dugan, II
                                              David S. Scalia
                                              TerriAnne Benedetto
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                                              Member of the Plaintiffs’ Executive Committee
                                              and Third Party Payor Chair




                                               2
  Case: 1:17-md-02804-DAP Doc #: 5169 Filed: 09/01/23 3 of 3. PageID #: 621925




                                CERTIFICATE OF SERVICE

       I, James R. Dugan, hereby certify that this document was electronically filed with the Clerk

of the Court for the Northern District of Ohio by using the CM/ECF System, which will provide

notification of such filing on all registered CM/ECF users and electronic copies will be sent to

those indicated as non-registered ECF participants on this 1st day of September, 2023.


Dated: September 1, 2023                             /s/ James R. Dugan
                                                     James R. Dugan




                                                3
